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                                                                          .
 7                           IN THE -SUPERIOR COURT OF W ASH'.INGTON
                                     IN AND FOR KING COUNTY
 8
     LIZABETH GLASS AND BRIAN
 9   REBESCHINI,                                     NO.

10                           Plaintiffs,             SUMMONS

11           vs.

12   CARROLL'S CREEK APARTMENTS
     PROPERTY OWNER, LLC, IRK
13   RESIDENTIAL GROUP, INC. dba TWO
     COAST LIVING and I.Q. DATA
14   INTERNATIONAL, INC.

15                           Defendants.

16
     TO THE DEFENDANT: I.Q. DATA INTERNATIONAL, INC.:
17
             A lawsuit has been started against you in the above-entitled: court by the Plaintiff. This claim
18
     is stated in the written Complaint, a copy of which is served upon you with this Summons.
19
             In order to defend against this lawsuit, you must respond to the Complaint by stating your
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     defense in writing, and by serving a copy upon the person signing this Summons within twenty (20)
21
     days (in state) or sixty (60) days (out of state) after the service of this Summons, excluding the day of
22
     service, or a default judgment may be entered against you without notice. A default judgment is one
23
     where a plaintiff is entitled to what has been asked for because you have not responded. If you serve

                                                                                   ANDERSON I SANTIAGO
     Summons - 1                                                                            207B SUNSET BLVD. N.
                                                                                               RENTON, WA 98057
                                                                                (206) 395-2665/F (206) 395-2719
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     a notice of appearance on the undersigned person, you are entitled to a notice before a default

 2   judgment may be entered.

 3          If you wish to seek the advice of an attorney on this matter, iou should do so promptly so that

 4   your written response, if any, may be served on time.

 5          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

 6   Siate of Washington.

 7
            Respectfully submitted this 27th day of November, 2023.
 8

 9
                                                   ANDERSON SANTIAGO, PLLC
10

11                                                 By:~~
                                                   T:Tyler Santiago, WSBA No. 46004
12                                                 Jason D. Anderson, WSBA No. 38014
                                                   Attorneys for Plaintfffs
13                                                 207B Sunset Blvd. N.
                                                   Renton, WA 98057 •
14                                                 (206) 395-2665       :
                                                   (206) 395-2719 (fax)
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23


                                                                                ANDERSON I SANTIAGO
     Summons-2                                                                            207B SUNSET BLVD. N.
                                                                                             RENTON, WA 980S7
                                                                              (206) 395-2665/F (206) 395-2719
